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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


UNITED STATES OF AMERICA

v                                                      Cr. No. 2:13cr20178-9-JTF

JEREMY BOWDEN


                                  ORDER REVOKING BOND

       This cause came on to be heard on Wednesday, December 27, 2016, pursuant to a

Petition filed by Probation Officer Anthony Longman, alleging violation of the conditions of the

defendant's bond supervision. Upon the defendant waiving his right to a hearing; the court

hereby ORDERS that the defendant's bond be and hereby is revoked. The defendant will be

held in custody pending the trial/final revocation hearing of this matter



                                               s/ Charmiane G. Claxton
                                               CHARMIANE G. CLAXTON
                                               UNITED STATES MAGISTRATE JUDGE


                                               DATE: December 27, 2017




                              This document entered on the docket sheet in compliance
                              with Rule 55 and/or 32(b) FRCrP on ________________
